                    Case 01-01139-AMC               Doc       Filed 06/01/22         Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          )
    In re:                                                ) Chapter 11
                                                          )
    TPC GROUP INC., et al.,1                              ) Case No. 22-10493 (CTG)
                                                          )
                        Debtors.                          ) (Joint Administration Requested)
                                                          )

                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE

    Pursuant to Local Rule 9010-1 of the Local Rules of Bankruptcy Practice and Procedures and
the attached certification, counsel moves the admission pro hac vice of Seth H. Lieberman, of
Pryor Cashman LLP, to represent GLAS USA LLC, as administrative agent, and GLAS Americas
LLC, as collateral agent, in the above-captioned cases and any related proceedings.

Dated: June 1, 2022                                              MORRIS JAMES LLP
                                                                 /s/ Eric J. Monzo
                                                                 Eric J. Monzo (DE Bar No. 5214)
                                                                 500 Delaware Avenue, Suite 1500
                                                                 Wilmington, DE 19801
                                                                 Telephone: (302) 888-6800
                                                                 E-mail: emonzo@morrisjames.com



                                       ORDER GRANTING MOTION
       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: TPC Group Inc. (3618); TPC Holdings, Inc. (7380); TPC Group LLC (8313); Texas Butylene
      Chemical Corporation (7440); Texas Olefins Domestic International Sales Corporation (4241); TPC Phoenix
      Fuels LLC (9133); Port Neches Fuels, LLC (1641); and TP Capital Corp. (6248). Each Debtor’s corporate
      headquarters and mailing address is 500 Dallas St., Suite 2000, Houston, Texas 77002.



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                  Case 01-01139-AMC        Doc       Filed 06/01/22    Page 2 of 2




           CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, and
am admitted, and in good standing as a member of the Bars of the State of New York and the State
of New Jersey. I submit to the disciplinary jurisdiction of this Court for any alleged misconduct
which occurs in the preparation or course of this action. I also certify that I am generally familiar
with this Court’s Local Rules and with the Standing Order for District Court Fund effective
9/1/2016. I further certify that the annual fee of $25.00 has been paid to the Clerk of the Court for
District Court.

Dated: June 1, 2022                           /s/ Seth H. Lieberman
                                              Seth H. Lieberman, Esquire
                                              Pryor Cashman LLP
                                              7 Times Square
                                              New York, NY 10036
                                              Phone: (212) 421-4100
                                              E-mail: slieberman@pryorcashman.com




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